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                                                                                                                    EXHIBIT "5"
                     Santos Public Adjusters
                     3057 NW 82nd Ave #3057
                     Doral, FL. 33122
                     Office: (305)-696-7818

              Insured:     Ana Bracho
             Property:     10429 NW 63rd Terr
                           Miami, FL 33174


      Claim Number: 156143                         Policy Number: WHO8002519                        Type of Loss: Water Damage

        Date of Loss:      5/25/2020 12:00 AM                      Date Received:
       Date Inspected:                                              Date Entered:     6/14/2020 9:41 PM

            Price List:    FLMI8X_JUN20
                           Restoration/Service/Remodel
             Estimate:     2020-06-14-2041

    ** Estimate Disclosure & Disclaimer**
    The insured(s) understand and agree that no promises have been expressly made or implied by Gustavo Santos Jr, any
    representative with or on behalf of Santos Public Adjusters, its employees or vendors, regarding the outcome of this claim.

    The work outlined in the following pages should be performed and are subject to and in accordance with any and all applicable
    standards
    set forth by Federal, State, County, City, and Municipal building codes.

    Insured(s) and any person(s) or Insurance Company that receives a copy of this estimate, on behalf of the Insured(s), understand
    and
    agree that this is an estimate for insurance repairs. As such all estimate(s) prepared and furnished by Gustavo Santos Jr., any
    representative with or on behalf of Santos Public Adjusters, its employees or vendors, do not guarantee or warrant that the
    amounts
    being claimed will be in fact recovered as it is the responsible insurance carrier and not Gustavo Santos Jr., any representative
    with
    or on behalf of Santos Public Adjusters, its employees or vendors who make the decision as to what is covered or not under the
    insurance
    policy.

    The Insured(s) agrees and understands that the scope of damages noted herein is based on a visual inspection only. Any and
    all hidden damages will be addressed when they are discovered and brought to the attention of the preprare of this estimate.
    Any errors and/or omissions discovered in this estimate are not to be construed as misrepresentations of facts or fraudulent
    statements
    on the part of Gustavo Santos Jr, any representative with or on behalf of Santos Public Adjusters, its employees or vendors, or
    the
    Insured(s). These errors/omissions/ mistakes are to be brought to the attention of the estimator/preparer/presenter at which time
    The document will be reviewed and any necessary changes, corrections, revisions, will be completed as soon as possible.

    The insured(s) reserves all rights and/or defenses afforded to them by their insurance policy and/or law and submittal of this
    estimate does not constitute a waiver of any rights and/or defenses afforded.

    "This estimate is subject to addendum should new information become available"

    Pursuant to s.817.234, Florida Statutes, any person who, with the intent to injure, defraud, or deceive any insurer or insured,
    prepares, presents, or causes to be presented a proof of loss or estimate of cost or repair of damaged property in support of a
    claim under an insurance policy knowing that the proof of loss or estimate of claim or repairs contains any false, incomplete,
    or misleading information concerning any fact or thing material to the claim commits a felony of the third degree, punishable
    as provided in s.775.082, s.775.803, or s.775.084, Florida Statutes.
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                                    Santos Public Adjusters
                                    3057 NW 82nd Ave #3057
                                    Doral, FL. 33122
                                    Office: (305)-696-7818

                                                                            2020-06-14-2041
                                                                                  Main Level

                    10' 10" 16' 10"
                   2' 6"         9' 1' 11"
                                                   Kitchen / Family Room                                                                    Height: 8'
                2' 1"               1' 7"
                     10' 6" 16' 6"
                                                                 726.39    SF Walls                                  433.04 SF Ceiling
               16' 1"
               15' 9"




                 Kitchen / Family Room
                                                               1,159.43    SF Walls & Ceiling                        433.04 SF Floor
                                          26' 9"
                                          26' 3"




     Up                 2' 1"
                3' 10"
                           3' 3" 5' 7"
                                 5' 3"




     Stairs
                     Pantry
                                                                  48.12    SY Flooring                                90.80 LF Floor Perimeter
                          3' 11"
          Up




                                                                  90.80    LF Ceil. Perimeter
                             8' 11"
                              8' 7"
                 Living Room Bathroom
      Missing Wall                   Closet 1                        3' 10" X 8'                          Opens into Exterior
      Missing Wall               Bedroom 1
                                                                     1' 2 7/16" X 8'                      Opens into LIVING_ROOM
      Missing Wall                                                   3' 4" X 8'                           Opens into LIVING_ROOM
      DESCRIPTION                                              QTY          REMOVE             REPLACE             TAX             O&P           TOTAL

      1. Contents - move out then reset -                  1.00 EA                  0.00         134.02             0.00          26.80           160.82
      Extra large room
      2. Recessed light fixture - Detach &                10.00 EA                  0.00          82.65             0.00         165.30           991.80
      reset entire unit
      3. Ceiling fan - Detach & reset                      1.00 EA                  0.00         140.41             0.00          28.08           168.49
      4. Door bell/chime - Detach & reset                  1.00 EA                  0.00          37.27             0.00            7.46           44.73
      5. Remove Hanging light fixture                      2.00 EA                 12.49           0.00             0.00            5.00           29.98
      6. Install Hanging light fixture                     2.00 EA                  0.00          38.17             0.00          15.26            91.60
      7. R&R Cabinetry - lower (base) units -              8.33 LF                  0.00          59.64             0.00          99.36           596.16
      Detach & reset
      8. R&R Countertop - Granite or                      99.70 SF                  5.35          76.21           279.16        1,682.14     10,092.84
      Marble - High grade
      9. Built-in oven - Detach & reset                    1.00 EA                  0.00         157.92             0.00          31.58           189.50
      10. Range hood - Detach & reset                      1.00 EA                  0.00          68.33             0.00          13.66            81.99
      11. Range - electric - Remove & reset                1.00 EA                  0.00          32.32             0.00            6.46           38.78
      12. Dishwasher - Detach & reset                      1.00 EA                  0.00         259.62             0.00          51.92           311.54
      13. Refrigerator - Remove & reset                    1.00 EA                  0.00          32.32             0.00            6.46           38.78
      14. Sink - single - Detach & reset                   1.00 EA                  0.00         141.92             0.00          28.38           170.30
      15. Sink faucet - Detach & reset                     1.00 EA                  0.00         114.23             0.00          22.84           137.07
      16. R&R P-trap assembly - ABS                        1.00 EA                  7.44          57.61             0.42          13.08            78.55
      (plastic)
      17. R&R Angle stop valve                             2.00 EA                  4.96          32.98             1.01          15.38            92.27
      18. R&R Plumbing fixture supply line                 2.00 EA                  4.96          18.87             0.84            9.68           58.18
      19. Heat/AC register - Mechanically                  3.00 EA                  0.00          13.13             0.00            7.88           47.27
      attached - Detach & reset
      20. Light fixture - Detach & reset                   1.00 EA                  0.00          39.41             0.00            7.88           47.29


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                                          Santos Public Adjusters
                                          3057 NW 82nd Ave #3057
                                          Doral, FL. 33122
                                          Office: (305)-696-7818

                                                                               CONTINUED - Kitchen / Family Room

     DESCRIPTION                                                               QTY            REMOVE        REPLACE         TAX            O&P            TOTAL

     21. TV Brackets - Wall or ceiling                                   1.00 EA                   0.00           110.25     0.00         22.06            132.31
     mounted - Detach & reset
     22. R&R Baseboard - 5 1/4"                                         90.80 LF                   0.50             3.89    12.78         82.28            493.67
     23. Additional labor to remove tile                               433.04 SF                   1.73             0.00     0.00        149.84            899.00
     from concrete slab
     24. R&R Mortar bed for tile floors                                433.04 SF                   1.33             3.59    58.50        437.80           2,626.85
     25. Floor leveling cement - Heavy                                 433.04 SF                   0.00             2.41    43.35        217.40           1,304.38
     26. R&R Tile floor covering -                                     433.04 SF                   2.49            13.63   300.40       1,456.20          8,737.21
     Premium grade
     27. Mask and prep for paint - plastic,                             90.80 LF                   0.00             1.32     1.65         24.32            145.83
     paper, tape (per LF)
     28. Floor protection - self-adhesive                              433.04 SF                   0.00             0.60     3.94         52.74            316.50
     plastic film
     29. Texture drywall - smooth / skim                           1,159.43 SF                     0.00             1.38    10.55        322.12           1,932.68
     coat
     30. Seal the walls and ceiling w/PVA                          1,159.43 SF                     0.00             0.56     4.06        130.68            784.02
     primer - one coat
     31. Paint the walls and ceiling - two                         1,159.43 SF                     0.00             0.94    20.29        222.04           1,332.19
     coats
     32. Seal & paint baseboard - two coats                             90.80 LF                   0.00             1.40     0.70         25.56            153.38
     33. Grout sealer                                                  433.04 SF                   0.00             0.82     4.85         72.00            431.94
     34. Final cleaning - construction -                               433.04 SF                   0.00             0.19     0.00         16.46             98.74
     Residential
                                           Kitchen / Family Room
                         Kitchen / Family Room
     Totals: Kitchen / Family   Room                                                                                       742.50       5,476.10      32,856.64




                                8" 2' 1"     8"
                                                              Pantry                                                                                 Height: 8'
                                4"          4"                                      151.99   SF Walls                          19.31 SF Ceiling
                         2'

                                     2'




                      1' 6"
                                                                                    171.30   SF Walls & Ceiling                19.31 SF Floor
                                                   5' 7"
                                           5' 3"




                       1' 6"
                                                                                      2.15   SY Flooring                       19.00 LF Floor Perimeter
             3' 11"

                        3' 3"




                                Pantry
                                 4' 3"                                               19.00   LF Ceil. Perimeter
                                4' 9"


     DESCRIPTION                                                               QTY            REMOVE        REPLACE         TAX            O&P            TOTAL

     35. Contents - move out then reset                                  1.00 EA                   0.00            44.68     0.00           8.94            53.62
     36. Shelving - wire (vinyl coated) -                               17.00 LF                   0.00             8.39     0.00         28.52            171.15
     Detach & reset
     37. R&R Baseboard - 5 1/4"                                         19.00 LF                   0.50             3.89     2.67         17.22            103.30
     38. Additional labor to remove tile                                19.31   SF
                                                                         Bathroom                  1.73             0.00     0.00           6.68            40.09
     from concrete  slab
                Living Room

     39. R&R Mortar bed for tile floors                                 19.31 SF                   1.33             3.59     2.61         19.52            117.13
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                                                                         Closet 1
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                                             Santos Public Adjusters
                                             3057 NW 82nd Ave #3057
                                             Doral, FL. 33122
                                             Office: (305)-696-7818

                                                                                                         CONTINUED - Pantry

         DESCRIPTION                                                                        QTY               REMOVE            REPLACE                     TAX                O&P           TOTAL

         40. Floor leveling cement - Heavy                                         19.31 SF                            0.00               2.41               1.93               9.68                58.15
         41. R&R Tile floor covering -                                             19.31 SF                            2.49              13.63              13.40              64.94            389.62
         Premium grade
         42. Mask and prep for paint - plastic,                                    19.00 LF                            0.00               1.32               0.35               5.10                30.53
         paper, tape (per LF)
         43. Floor protection - self-adhesive                                      19.31 SF                            0.00               0.60               0.18               2.36                14.13
         plastic film
         44. Texture drywall - smooth / skim                                      151.99 SF                            0.00               1.38               1.38              42.24            253.37
         coat
         45. Seal the walls w/PVA primer - one                                    151.99 SF                            0.00               0.56               0.53              17.12            102.76
         coat
         46. Paint the walls - two coats                                          151.99 SF                            0.00               0.94               2.66              29.12            174.65
         47. Seal & paint baseboard - two coats                                    19.00 LF                            0.00               1.40               0.15               5.36                32.11
                                                                                                                                                  Kitchen / Family Room
         48. Grout sealer                                                          19.31 SF                            0.00               0.82               0.22               3.20                19.25
         49. Final cleaning - construction -                                       19.31 SF                            0.00               0.19               0.00               0.74                 4.41
         Residential

         Totals: Pantry                                                                                                                                     26.08             260.74          1,564.27



                                3' 10"                                  Stairs                                                                                                         Height: 16' 9"
                                                                                                119.55      SF Walls                                            14.42 SF Ceiling
                                                            3' 5"
                       3' 10"




                                Up
                                Stairs                                                          133.97      SF Walls & Ceiling
                                                                                               Kitchen / Family Room                                            27.29 SF Floor
                                                                                                  3.03      SY Flooring                                          9.32 LF Floor Perimeter
                                              8"                                                  7.92      LF Ceil. Perimeter Pantry
                            3' 2"             10"
         Missing Wall                                                                             3' 10" X 16' 8 15/16"                          Opens into Exterior
                                                        Up




    Up
    Stairs
                                                                        Subroom: Stairs2 (1)                                                                                           Height: 13' 7"
             8"                         7'                                         Pantry
              1"




                                                                                                166.47      SF Walls                                            24.80 SF Ceiling
                                 7' 8"
                                                               3' 11"




                                                                                                191.28      SF Walls & Ceiling                                  45.24 SF Floor
                                                    3' 3"
              3' 2"
                      Up




                                                                                                  5.03      SY Flooring                                         18.02 LF Floor Perimeter
                                                                                                 15.26      LF Ceil. Perimeter
                                   8'



         Missing Wall                                                                             3' 2" X 13' 7 7/16"                            Opens into STAIRS1
         Missing Wall                                                                             1" X 13' 7 7/16"                               Opens into MAIN

                                                                                                                                                                                         Bathroom
                                                                                                                                Living
                                                                                                                              Bathroom   Room
                                                                                 Living Room


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                                                                                                                              Closet 1
                                                                                                                                                                                         Closet 1
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                         Santos Public Adjusters
                         3057 NW 82nd Ave #3057
                         Doral, FL. 33122
                         Office: (305)-696-7818
                      Up
                       Stairs
                                                                  CONTINUED - Stairs

                                                                                                        Pantry
                                           Subroom: Stairs1 (2)                                                                      Height: 13' 7"
                      3' 2"
                                                             86.27   SF Walls                                    10.03 SF Ceiling
                                  3' 2"
        3' 6"




                                          Up

                                                             96.30   SF Walls & Ceiling                          10.03 SF Floor
                                                              1.11   SY Flooring                                  6.33 LF Floor Perimeter
                                                              6.33   LF Ceil. Perimeter
                  3' 6"
     Missing Wall                                            3' 2" X 13' 7 7/16"                  Opens into MAIN
     Missing Wall                                            3' 2" X 13' 7 7/16"                  Opens into STAIRS2
     DESCRIPTION                                       QTY            REMOVE        REPLACE                 TAX              O&P            TOTAL

     50. Light fixture - Detach & reset            2.00 EA                 0.00           39.41             0.00            15.76             94.58
     51. R&R Baseboard - 5 1/4"                   33.67 LF                 0.50            3.89             4.74            30.50            183.06
     52. Additional labor to remove tile          82.56 SF                 1.73            0.00             0.00            28.56            171.39
     from concrete slab
     53. R&R Mortar bed for tile floors           82.56 SF                 1.33            3.59            11.15            83.48            500.82
     54. Floor leveling cement - Heavy            82.56 SF                 0.00            2.41             8.26            41.46            248.69
     55. R&R Tile floor covering -                82.56 SF                 2.49           13.63             57.27
                                                                                                     Living Room           277.64           1,665.77
     Premium grade
     56. Mask and prep for paint - plastic,       29.51 LF                 0.00            1.32             0.54              7.90            47.39
     paper, tape (per LF)
     57. Floor protection - self-adhesive         82.56 SF                 0.00            0.60             0.75            10.06             60.35
     plastic film
     58. Texture drywall - smooth / skim         421.55 SF                 0.00            1.38             3.84           117.10            702.68
     coat
     59. Seal the walls and ceiling w/PVA        421.55 SF                 0.00            0.56             1.48            47.52            285.07
     primer - one coat
     60. Paint the walls and ceiling - two       421.55 SF                 0.00            0.94             7.38            80.74            484.38
     coats
     61. Seal & paint baseboard - two coats       33.67 LF                 0.00            1.40             0.26              9.48            56.88
     62. Grout sealer                             82.56 SF                 0.00            0.82             0.92            13.72             82.34
     63. Final cleaning - construction -          82.56 SF                 0.00            0.19             0.00              3.14            18.83
     Residential

     Totals: Stairs                                                                                        96.59            767.06          4,602.23    Bedr




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                                                     Santos Public Adjusters
                                                     3057 NW 82nd Ave #3057
                                          Kitchen / Family Room
                                                     Doral, FL. 33122
                                                     Office: (305)-696-7818
    Up
    Stairs
                                            Pantry
         Up




                                          11' 2"       1' 2"
                                                                                               Living Room                                                                           Height: 8'
                   2' 6"
                           4' 2" 2' 2"




                                                             4' 5" 3' 4"



                                           11' 2"
                                                                           3' 11"




                                                                                                              408.52   SF Walls                               175.09 SF Ceiling
                                         Living Room                                Bathroom
                                                                                                              583.61   SF Walls & Ceiling                     175.09 SF Floor
                                                       4"
                           7' 10"
                   8' 2"




                                                                                    2' 2"




                                                                                    Closet 1
                                                             2' 6"                                             19.45   SY Flooring                             51.07 LF Floor Perimeter
                                                     2' 7"
                                                                   2' 5"




                                4'             6'                          4"
                           4' 4"
                                                                                                               51.07   LF Ceil. Perimeter
                                                                           Bedroom 1


             Missing Wall                                                                                       3' 4" X 8'                          Opens into KITCHEN___FA
             Missing Wall                                                                                       1' 2 7/16" X 8'                     Opens into KITCHEN___FA
             DESCRIPTION                                                                                     QTY        REMOVE        REPLACE               TAX            O&P            TOTAL

             64. Contents - move out then reset -                                                     1.00 EA                 0.00          67.01            0.00          13.40            80.41
             Large room
             65. Window blind - horizontal or                                                         3.00 EA                 0.00          32.93            0.00          19.76           118.55
             vertical - Detach & reset
             66. Remove Security system - key pad                                                     1.00 EA                 2.80           0.00            0.00           0.56              3.36
             67. Install Security system - key pad                                                    1.00 EA                 0.00          79.50            0.00          15.90            95.40
             68. Remove Security system - motion                                                      1.00 EA                22.41           0.00            0.00           4.48            26.89
             detector
             69. Install Security system - motion                                                     1.00 EA                 0.00          59.65            0.00          11.94            71.59
             detector
             70. Recessed light fixture - Detach &                                                    4.00 EA                 0.00          82.65            0.00          66.12           396.72
             reset entire unit
             71. Smoke detector - Detach & reset                                                      1.00 EA                 0.00          38.17            0.00           7.64            45.81
             72. Heat/AC register - Mechanically                                                      1.00 EA                 0.00          13.13            0.00           2.62            15.75
             attached - Detach & reset
             73. R&R Wallpaper - High grade                                                         128.00 SF                 0.96           2.72           11.83          96.58           579.45
             74. R&R Blown-in insulation - 12"                                                       32.00 SF                 0.97           0.98            1.39          12.76            76.55
             depth - R30
             75. R&R 5/8" drywall - hung, taped,                                                     32.00 SF                 0.41           2.14            1.14          16.54            99.28
             ready for texture
             76. R&R 1/2" drywall - hung, taped,                                                     32.00 SF                 0.41           2.05            1.03          15.94            95.69
             ready for texture
             77. R&R Baseboard - 5 1/4"                                                              51.07 LF                 0.50           3.89            7.19          46.28           277.67
             78. Additional labor to remove tile                                                    175.09 SF                 1.73           0.00            0.00          60.58           363.49
             from concrete slab
             79. R&R Mortar bed for tile floors                                                     175.09 SF                 1.33           3.59           23.65         177.04          1,062.13
             80. Floor leveling cement - Heavy                                                      175.09 SF                 0.00           2.41           17.53          87.90           527.40
             81. R&R Tile floor covering -                                                          175.09 SF                 2.49          13.63          121.46         588.80          3,532.71
             Premium grade
             82. Mask and prep for paint - plastic,                                                  51.07 LF                 0.00           1.32            0.93          13.66            82.00
             paper, tape (per LF)
             83. Floor protection - self-adhesive                                                   175.09 SF                 0.00           0.60            1.59          21.34           127.98
             plastic film


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                                        Santos Public Adjusters
                                        3057 NW 82nd Ave #3057
/ Family Room                           Doral, FL. 33122
                                        Office: (305)-696-7818

                                                                                  CONTINUED - Living Room

                DESCRIPTION                                                 QTY         REMOVE        REPLACE        TAX            O&P            TOTAL

                84. Texture drywall - smooth / skim                455.61 SF                 0.00            1.38     4.15        126.58            759.47
                coat
                85. Seal more than the ceiling w/PVA               455.61 SF                 0.00            0.56     1.59         51.34            308.07
                primer - one coat
                86. Paint more than the ceiling - two              455.61 SF                 0.00            0.94     7.97         87.26            523.50
                coats
                87. Seal & paint baseboard - two coats                 51.07 LF              0.00            1.40     0.39         14.38             86.27
                88. Grout sealer                                   175.09 SF                 0.00            0.82     1.96         29.12            174.65
                89. Final cleaning - construction -                175.09 SF                 0.00            0.19     0.00           6.66            39.93
                Residential

                Totals: Living Room                                                                                 203.80       1,595.18          9,570.72


                            Bathroom

                                                            Closet 1                                                                          Height: 8'
                             6' 11"
                                                                              142.67   SF Walls                         14.63 SF Ceiling
                              6' 9"                                           157.29   SF Walls & Ceiling               14.63 SF Floor
                                            2' 2"

                                                    2' 6"




                             Closet 1
                    1' 3"        5'                                             1.63   SY Flooring                      17.83 LF Floor Perimeter
                    1' 5"                                                      17.83   LF Ceil. Perimeter


                DESCRIPTION                                                 QTY         REMOVE        REPLACE        TAX            O&P            TOTAL

                90. Contents
                     Bedroom 1- move out then reset                     1.00 EA              0.00           44.68     0.00           8.94            53.62
                91. Bypass (sliding) door set - slabs                   1.00 EA              0.00           27.40     0.00           5.48            32.88
                only - Detach & reset
                92. Shelving - wire (vinyl coated) -                    6.75 LF              0.00            8.39     0.00         11.32             67.95
                Detach & reset
                93. R&R Baseboard - 5 1/4"                             17.83 LF              0.50            3.89     2.51         16.16             96.95
                94. Additional labor to remove tile                    14.63 SF              1.73            0.00     0.00           5.06            30.37
                from concrete slab
                95. R&R Mortar bed for tile floors                     14.63 SF              1.33            3.59     1.98         14.80             88.76
                96. Floor leveling cement - Heavy                      14.63 SF              0.00            2.41     1.46           7.36            44.08
                97. R&R Tile floor covering -                          14.63 SF              2.49           13.63    10.15         49.20            295.19
                Premium grade
                98. Mask and prep for paint - plastic,                 17.83 LF              0.00            1.32     0.32           4.76            28.62
                paper, tape (per LF)
                99. Floor protection - self-adhesive                   14.63 SF              0.00            0.60     0.13           1.78            10.69
                plastic film
                100. Texture drywall - smooth / skim               142.67 SF                 0.00            1.38     1.30         39.64            237.82
                coat
                101. Seal the walls w/PVA primer -                 142.67 SF                 0.00            0.56     0.50         16.08             96.48
                one coat

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                                             Santos Public Adjusters
                                             3057 NW 82nd Ave #3057
                                             Doral, FL. 33122
                                             Office: (305)-696-7818

                                                                                        CONTINUED - Closet 1

        Kitchen / Family Room
         DESCRIPTION                                                              QTY        REMOVE        REPLACE       TAX            O&P            TOTAL

         102. Paint the walls - two coats                                  142.67 SF              0.00            0.94    2.50          27.32           163.93
         103. Seal & paint baseboard - two                                  17.83 LF              0.00            1.40    0.14           5.02            30.12
         coats
      Pantry
         104. Grout sealer                                                  14.63 SF              0.00            0.82    0.16           2.44            14.60
         105. Final cleaning - construction -                               14.63 SF              0.00            0.19    0.00           0.56             3.34
         Residential

         Totals: Closet 1                                                                                                21.15         215.92          1,295.40

                                      Bathroom
    Living Room



                     7" 2' 6" 1' 3"
                                          Closet 1
                                             5'    6"                 Bedroom 1                                                                   Height: 8'
                  2' 7"
                          2' 5"




                                  1' 5"
                                                                                   333.16   SF Walls                       108.22 SF Ceiling
                                                                                   441.37   SF Walls & Ceiling             108.22 SF Floor
                                                   10' 10"
                                                             11' 4"




                                  Bedroom 1
                          8' 5"




                                                                                    12.02   SY Flooring                     41.64 LF Floor Perimeter
                  8' 7"




                                                                                    41.64   LF Ceil. Perimeter
                      1' 11"         6' 4"      1' 9"
                      2' 3"                      2' 1"


         DESCRIPTION                                                              QTY        REMOVE        REPLACE       TAX            O&P            TOTAL

         106. Contents - move out then reset -                               1.00 EA              0.00           67.01    0.00          13.40            80.41
         Large room
         107. Heat/AC register - Mechanically                                1.00 EA              0.00           13.13    0.00           2.62            15.75
         attached - Detach & reset
         108. Smoke detector - Detach & reset                                1.00 EA              0.00           38.17    0.00           7.64            45.81
         109. Window blind - horizontal or                                   1.00 EA              0.00           32.93    0.00           6.58            39.51
         vertical - Detach & reset
         110. R&R Wallpaper - High grade                                    86.67 SF              0.96            2.72    8.01          65.38           392.33
         111. R&R Blown-in insulation - 12"                                 32.00 SF              0.97            0.98    1.39          12.76            76.55
         depth - R30
         112. R&R 5/8" drywall - hung, taped,                               32.00 SF              0.41            2.14    1.14          16.54            99.28
         ready for texture
         113. R&R 1/2" drywall - hung, taped,                               32.00 SF              0.41            2.05    1.03          15.94            95.69
         ready for texture
         114. R&R Baseboard - 5 1/4"                                        41.64 LF              0.50            3.89    5.86          37.74           226.40
         115. Additional labor to remove tile                              108.22 SF              1.73            0.00    0.00          37.44           224.66
         from concrete slab
         116. R&R Mortar bed for tile floors                               108.22 SF              1.33            3.59   14.62         109.40           656.46
         117. Floor leveling cement - Heavy                                108.22 SF              0.00            2.41   10.83          54.32           325.96
         118. R&R Tile floor covering -                                    108.22 SF              2.49           13.63   75.07         363.92          2,183.50
         Premium grade
         119. Mask and prep for paint - plastic,                            41.64 LF              0.00            1.32    0.76          11.16            66.88
         paper, tape (per LF)


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                                                 Santos Public Adjusters
                                                 3057 NW 82nd Ave #3057
                                                 Doral, FL. 33122
                                                 Office: (305)-696-7818

                                                                                                          CONTINUED - Bedroom 1

              DESCRIPTION                                                                           QTY         REMOVE        REPLACE           TAX            O&P            TOTAL

              120. Floor protection - self-adhesive                                           108.22 SF              0.00             0.60       0.98          13.18            79.09
              plastic film
              121. Texture drywall - smooth / skim                                            441.37 SF              0.00             1.38       4.02         122.62           735.73
              coat
              122. Seal the walls and ceiling w/PVA                                           441.37 SF              0.00             0.56       1.54          49.74           298.45
              primer - one coat
              123. Paint the walls and ceiling - two                                          441.37 SF              0.00             0.94       7.72          84.52           507.13
              coats
              124. Seal & paint baseboard - two                                                41.64 LF              0.00             1.40       0.32          11.72            70.34
              coats
              125. Grout sealer                                                               108.22 SF              0.00             0.82       1.21          17.98           107.93
              126. Final cleaning - construction -                                            108.22 SF              0.00             0.19       0.00           4.12            24.68
              Residential

              Totals: Bedroom 1                                                                                                               134.50        1,058.72          6,352.54

              Total: Main Level                                                                                                              1,224.62       9,373.72      56,241.80

                                                                                                                  Second Floor


                             3' 1"      4' 6"        3' 2"
                             2' 9"                    3'
                                                                                  Bedroom 1                                                                              Height: 8'
                                                                                                      339.39   SF Walls                           106.13 SF Ceiling
                    10' 3"




                                                                  9' 9"




                                     Bedroom 1                            Bedroom 2
                                                                                                      445.52   SF Walls & Ceiling                 106.13 SF Floor
                                                                                                       11.79   SY Flooring                         42.42 LF Floor Perimeter
                        3" 4' 10"         6"
                                                           6"




                                                                                                       42.42   LF Ceil. Perimeter
                                                3'




                                                                                Closet 2
                                                 9"




                               Closet 1
                                                             6"
                                          3'
                                            1"


                                                           2'
                                                      7"
         Up




                                                                          Bathroom2Shower 2
    Up        DESCRIPTION Open Area 2                                                               QTY         REMOVE        REPLACE           TAX            O&P            TOTAL
                         Up




              127.
               Stairs Contents - move out then reset -                                          1.00 EA              0.00            67.01      0.00           13.40            80.41
                                                Laundry Room
              Large room
              128. Window blind - horizontal
                                          AC or                                                 1.00 EA              0.00            32.93      0.00            6.58            39.51
              vertical - Detach & reset
              129. Ceiling fan - Detach & reset
                                           Walk-in Closet                                       1.00 EA              0.00           140.41      0.00           28.08           168.49
                                       Master Bedroom
              130. Heat/AC register - Mechanically                                              1.00 EA              0.00            13.13      0.00            2.62            15.75
              attached - Detach & reset
              131. TV Brackets - Wall or ceilingToilet Room                                     1.00 EA              0.00           110.25      0.00           22.06           132.31
              mounted - Detach & reset
              132. R&R Wallpaper - High grade                                                  78.00 SF              0.96             2.72      7.21           58.86           353.11
                                               Master Shower
              133. R&R 1/2"                drywall - hung,   taped,
                                                          Master Bath                          32.00 SF              0.41             2.05      1.03           15.94            95.69
              ready for texture
              134. R&R Baseboard - 5 1/4"                                                      42.42 LF              0.50             3.89      5.97           38.44           230.63
              135. Additional labor to remove tile                                            106.13 SF              1.73             0.00      0.00           36.72           220.32
              from concrete slab
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                                        Santos Public Adjusters
                                        3057 NW 82nd Ave #3057
                                        Doral, FL. 33122
                                        Office: (305)-696-7818

                                                                                        CONTINUED - Bedroom 1

              DESCRIPTION                                                         QTY           REMOVE                   REPLACE       TAX            O&P            TOTAL

              136. R&R Mortar bed for tile floors                           106.13 SF                    1.33                  3.59    14.34        107.30            643.80
              137. Floor leveling cement - Heavy                            106.13 SF                    0.00                  2.41    10.62         53.28            319.67
              138. R&R Tile floor covering -                                106.13 SF                    2.49                 13.63    73.62        356.90           2,141.33
              Premium grade
              139. Mask and prep for paint - plastic,                        42.42 LF                    0.00                  1.32     0.77         11.36             68.12
              paper, tape (per LF)
              140. Floor protection - self-adhesive                         106.13 SF                    0.00                  0.60     0.97         12.94             77.59
              plastic film
              141. Texture drywall - smooth / skim                          445.52 SF                    0.00                  1.38     4.05        123.78            742.65
              coat
              142. Seal the walls and ceiling w/PVA                         445.52 SF                    0.00                  0.56     1.56         50.22            301.27
              primer - one coat
              143. Paint the walls and ceiling - two                        445.52 SF                    0.00                  0.94     7.80         85.32            511.91
              coats
              144. Seal & paint baseboard - two                              42.42 LF                    0.00                  1.40     0.33         11.94             71.66
              coats
              145. Grout sealer                                             106.13 SF                    0.00                  0.82     1.19         17.64            105.86
              146. Final cleaning - construction -                          106.13 SF                    0.00                  0.19     0.00           4.04            24.20
              Residential
                                                                                             Bedroom 2
              Totals: Bedroom 1 Bedroom 1                                                                                             129.46       1,057.42          6,344.28




                                                              Closet 1                                                                                          Height: 8'
                          3"     4' 10"      6"
                                                                                    124.26    SF Walls                                    12.89 SF Ceiling
                 2' 11"




                                            2' 5"




                                                                                    137.15    SF WallsCloset
                                                                                                        & Ceiling                         12.89 SF Floor
                                                      2' 2"




                                 Closet 1                                                                    2

                                4' 8"                                                 1.43    SY Flooring                                 15.53 LF Floor Perimeter
                                                                                     15.53    LF Ceil. Perimeter
                               4' 10"       8"

                                                                                             Bathroom2             Shower 2
              DESCRIPTION                                                         QTY           REMOVE                   REPLACE       TAX            O&P            TOTAL
                                                              Open Area 2
              147. Contents - move out then reset                             1.00 EA                    0.00                 44.68     0.00           8.94            53.62
              148. Closet Organizer - Melamine or                            15.53 LF                    0.00                 52.59     0.00        163.34            980.06
              Wire - Detach & reset
                     Up




     Stairs
              149. Bypass (sliding) door set - slabs                          1.00 EA                    0.00                 27.40     0.00           5.48            32.88
              only - Detach & reset                                                                      Laundry Room

              150. R&R Baseboard - 5 1/4"                                    15.53 LF                    0.50                  3.89     2.19         14.08             84.45
              151. R&R Vapor barrier - visqueen -                            12.89 SF                    0.09                  0.29     0.04           0.98             5.92
              6mil                                                                       AC

              152. Additional labor to remove tile                           12.89 SF                    1.73                  0.00     0.00           4.46            26.76
              from concrete slab
              153. R&R Mortar bed for tile floors                            12.89 SF                    1.33                  3.59     1.74         13.02             78.18

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                                                    Master Bedroom
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                                                    Santos Public Adjusters
                                                    3057 NW 82nd Ave #3057
                                                    Doral, FL. 33122
                                                    Office: (305)-696-7818

                                                                                             CONTINUED - Closet 1

                DESCRIPTION                                                            QTY        REMOVE        REPLACE        TAX            O&P            TOTAL

                154. Floor leveling cement - Heavy                               12.89 SF              0.00             2.41    1.29           6.48            38.83
                155. R&R Tile floor covering -                                   12.89 SF              2.49            13.63    8.94          43.34           260.07
                Premium grade
                156. Floor protection - self-adhesive                            12.89 SF              0.00             0.60    0.12           1.56             9.41
                plastic film
                157. Texture drywall - smooth / skim                            124.26 SF              0.00             1.38    1.13          34.52           207.13
                coat
                158. Seal the walls w/PVA primer -                              124.26 SF              0.00             0.56    0.43          14.00            84.02
                one coat
                159. Paint the walls - two coats                                124.26 SF              0.00             0.94    2.17          23.80           142.77
                160. Seal & paint baseboard - two                                15.53 LF              0.00             1.40    0.12           4.36            26.22
                coats
                161. Grout sealer                                                12.89 SF              0.00             0.82    0.14           2.14            12.85
                162. Final cleaning - construction -                             12.89 SF              0.00             0.19    0.00           0.50             2.95
                Residential

                Totals: Closet 1                                                                                               18.31         341.00          2,046.12



                            3' 1"          4' 6"      3' 3"
                                                                           Bedroom 2                                                                    Height: 8'
                           2' 11"                    2' 11"

                                                                                        335.80   SF Walls                        105.97 SF Ceiling
                                                                  10' 3"
                                                          9' 9"




       Bedroom 1                      Bedroom 2
                                                                                        441.77   SF Walls & Ceiling              105.97 SF Floor
                           5"
                                                                                         11.77   SY Flooring                      41.98 LF Floor Perimeter
                                           7" 4' 10" 4"
                      4"                                                                 41.98   LF Ceil. Perimeter
                                      2"




                                               Closet 2
                                     3'




     Closet 1
                                          5"




                                5"
                                      2'




                                      Bathroom2
                                              Shower 2
                 Open Area 2
                DESCRIPTION                                                            QTY        REMOVE        REPLACE        TAX            O&P            TOTAL
Up




                163. Contents -Laundry
                                moveRoom
                                       out then reset -                           1.00 EA              0.00            67.01    0.00          13.40            80.41
                Large room
                                          AC
                164. Window blind - horizontal or                                 1.00 EA              0.00            32.93    0.00           6.58            39.51
                vertical - Detach & reset
             165.    TV     Walk-in -Closet
                        Brackets      Wall or ceiling                             1.00 EA              0.00           110.25    0.00          22.06           132.31
          Master Bedroom
                mounted - Detach & reset
                166. Ceiling fan - Detach & reset                                 1.00 EA              0.00           140.41    0.00          28.08           168.49
                                                   Toilet Room
                167. Heat/AC register - Mechanically                              2.00 EA              0.00            13.13    0.00           5.26            31.52
                attached - Detach & reset
                168. Master
                      R&R     Wallpaper - High grade
                            Shower                                              335.80 SF              0.96             2.72   31.03         253.36          1,520.14
                                      Master Bath
                169. R&R Blown-in insulation - 12"                               32.00 SF              0.97             0.98    1.39          12.76            76.55
                depth - R30
                170. R&R 5/8" drywall - hung, taped,                             32.00 SF              0.41             2.14    1.14          16.54            99.28
                ready for texture
                171. R&R 1/2" drywall - hung, taped,                             32.00 SF              0.41             2.05    1.03          15.94            95.69
                ready for texture
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                                       Santos Public Adjusters
                                       3057 NW 82nd Ave #3057
                                       Doral, FL. 33122
                                       Office: (305)-696-7818

                                                                                      CONTINUED - Bedroom 2

      DESCRIPTION                                                               QTY         REMOVE        REPLACE        TAX            O&P            TOTAL

      172. R&R Baseboard - 5 1/4"                                          41.98 LF              0.50            3.89     5.91         38.04            228.24
      173. Additional labor to remove tile                             105.97 SF                 1.73            0.00     0.00         36.66            219.99
      from concrete slab
      174. R&R Mortar bed for tile floors                              105.97 SF                 1.33            3.59    14.32        107.12            642.81
      175. Floor leveling cement - Heavy                               105.97 SF                 0.00            2.41    10.61         53.20            319.20
      176. R&R Tile floor covering -                                   105.97 SF                 2.49           13.63    73.51        356.36           2,138.11
      Premium grade
      177. Mask and prep for paint - plastic,                              41.98 LF              0.00            1.32     0.76         11.24             67.41
      paper, tape (per LF)
      178. Floor protection - self-adhesive                            105.97 SF                 0.00            0.60     0.96         12.92             77.46
      plastic film
      179. Texture drywall - smooth / skim                             441.77 SF                 0.00            1.38     4.02        122.72            736.38
      coat
      180. Seal the walls and ceiling w/PVA                            441.77 SF                 0.00            0.56     1.55         49.80            298.74
      primer - one coat
      181. Paint the walls and ceiling - two                           441.77 SF                 0.00            0.94     7.73         84.60            507.59
      coats
      182. Seal & paint baseboard - two                                    41.98 LF              0.00            1.40     0.32         11.82             70.91
      coats
      183. Grout sealer                                                105.97 SF                 0.00            0.82     1.19         17.62            105.71
      184. Final cleaning - construction -                             105.97 SF                 0.00            0.19     0.00           4.02            24.15
      Residential

      Totals:  Bedroom
         Bedroom 2     2                                                                                                155.47       1,280.10          7,680.60




                                                                Closet 2                                                                          Height: 8'
                 7"             4' 10"             4"
                                                                                  118.65   SF Walls                         10.73 SF Ceiling
                                                        2' 4"




                 4"                                                               129.38   SF Walls & Ceiling               10.73 SF Floor
         1' 9"




                                                   2'




                                Closet 2
                        2' 8"              2' 9"                                    1.19   SY Flooring                      14.83 LF Floor Perimeter
                      2' 10"                                                       14.83   LF Ceil. Perimeter

         Bathroom2                     Shower 2
      DESCRIPTION                                                               QTY         REMOVE        REPLACE        TAX            O&P            TOTAL

      185. Contents - move out then reset                                   1.00 EA              0.00           44.68     0.00           8.94            53.62
      186. Closet Organizer - Melamine or                                  14.83 LF              0.00           52.59     0.00        155.98            935.89
      Wire - Detach & reset
      187. Bypass (sliding) door set - slabs                                1.00 EA              0.00           27.40     0.00           5.48            32.88
      only - DetachLaundry
                    & resetRoom

      188. R&R Baseboard - 5 1/4"                                          14.83 LF              0.50            3.89     2.09         13.44             80.64
      189. Additional labor to remove tile                                 10.73 SF              1.73            0.00     0.00           3.72            22.28
      from
         AC concrete slab


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                      Walk-in Closet
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                                                            Santos Public Adjusters
                                                            3057 NW 82nd Ave #3057
                                                            Doral, FL. 33122
                                                            Office: (305)-696-7818

                                                                                                           CONTINUED - Closet 2

                  DESCRIPTION                                                                       QTY        REMOVE        REPLACE                TAX            O&P            TOTAL

                  190. R&R Mortar bed for tile floors                                        10.73 SF                 1.33          3.59             1.45         10.86             65.10
                  191. Floor leveling cement - Heavy                                         10.73 SF                 0.00          2.41             1.07           5.40            32.33
                  192. R&R Tile floor covering -                                             10.73 SF                 2.49         13.63             7.44         36.08            216.49
                  Premium grade
                  193. Mask and prep for paint - plastic,                                    14.83 LF                 0.00          1.32             0.27           3.98            23.83
                  paper, tape (per LF)
                  194. Floor protection - self-adhesive                                      10.73 SF                 0.00          0.60             0.10           1.30             7.84
                  plastic film
                  195. Texture drywall - smooth / skim                                      118.65 SF                 0.00          1.38             1.08         32.96            197.78
                  coat
                  196. Seal the walls w/PVA primer -                                        118.65 SF                 0.00          0.56             0.42         13.36             80.22
                  one coat
                  197. Paint the walls - two coats                                          118.65 SF                 0.00          0.94             2.08         22.72            136.33
                  198. Seal & paint baseboard - two                                          14.83 LF                 0.00          1.40             0.11           4.18            25.05
                  coats
                  199. Grout sealer                                                          10.73 SF                 0.00          0.82             0.12           1.78            10.70
                  200. Final cleaning - construction -                                       10.73 SF                 0.00          0.19             0.00           0.40             2.44
                  Residential

                  Totals: Closet 2                                                                                                                  16.23         320.58          1,923.42

                       Bedroom 1                                  Bedroom 2



                                                    2'                                Open Area 2                                                                            Height: 8'
                                            6"




                                                          6"
                   Closet 18" 2' 2"                                        Closet 2
                                             6"




                                                                                                     322.90   SF Walls                                 77.34 SF Ceiling
                                            2'

                                                          2' 5"
                                                                   2' 4"




                                 2' 10"
    Up




                                 5' 11"




                                                                  Bathroom2
                                                                          Shower 2
                                                                                                     400.24   SF Walls & Ceiling                       77.34 SF Floor
                         6' 3"




p                                  Open Area 2                    3' 1"
                                                          8"




                                    5'                                                                 8.59   SY Flooring                              40.36 LF Floor Perimeter
                  Up




                                                                  3' 3"
                                                                            2' 6"
                                                 2' 11"




         Stairs                     5' 4"
                                                                       Laundry Room
                                                                   2' 2"
                                                                                                      40.36   LF Ceil. Perimeter
                                                           9"
                                                                   AC

                  Missing Wall                                                                          2' 11" X 8'                        Opens into Exterior
                                                                   Walk-in Closet
                         Master Bedroom
                  DESCRIPTION                                                                       QTY        REMOVE        REPLACE                TAX            O&P            TOTAL

                  201. Contents - move outToilet
                                            then   reset -
                                                 Room                                         1.00 EA                 0.00         67.01             0.00         13.40             80.41
                  Large room
                  202. Smoke detector - Detach & reset                                        1.00 EA                 0.00         38.17             0.00           7.64            45.81
                               Master Shower
                  203.   Heat/AC  register   - Mechanically
                                         Master Bath                                          1.00 EA                 0.00         13.13             0.00           2.62            15.75
                  attached - Detach & reset
                  204. Recessed light fixture - Detach &                                      4.00 EA                 0.00         82.65             0.00         66.12            396.72
                  reset entire unit
                  205. Cold air return cover - Detach &                                       1.00 EA                 0.00         17.91             0.00           3.58            21.49
                  reset
                  206. R&R Blown-in insulation - 12"                                         32.00 SF                 0.97          0.98             1.39         12.76             76.55
                  depth - R30

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                              Santos Public Adjusters
                              3057 NW 82nd Ave #3057
                              Doral, FL. 33122
                              Office: (305)-696-7818

                                                                             CONTINUED - Open Area 2

      DESCRIPTION                                                 QTY             REMOVE               REPLACE                   TAX            O&P            TOTAL

      207. R&R 5/8" drywall - hung, taped,                  32.00 SF                     0.41                    2.14             1.14         16.54             99.28
      ready for texture
      208. R&R 1/2" drywall - hung, taped,                  32.00 SF                     0.41                    2.05             1.03         15.94             95.69
      ready for texture
      209. R&R Baseboard - 5 1/4"                           40.36 LF                     0.50                    3.89             5.68         36.58            219.44
      210. Additional labor to remove tile                  77.34 SF                     1.73                    0.00             0.00         26.76            160.56
      from concrete slab
      211. R&R Mortar bed for tile floors                   77.34 SF                     1.33                    3.59            10.45         78.22            469.18
      212. Floor leveling cement - Heavy                    77.34 SF                     0.00                    2.41             7.74         38.82            232.95
      213. R&R Tile floor covering -                        77.34 SF                     2.49                   13.63            53.65        260.08           1,560.45
      Premium grade
      214. Mask and prep for paint - plastic,               40.36 LF                     0.00                    1.32             0.73         10.80             64.81
      paper, tape (per LF)
      215. Floor protection - self-adhesive                 77.34 SF                     0.00                    0.60             0.70           9.42            56.52
      plastic film
      216. Texture drywall - smooth / skim                 400.24 SF                     0.00                    1.38             3.64        111.18            667.15
      coat
      217. Seal the walls and ceiling w/PVA                400.24 SF                     0.00                    0.56             1.40         45.10            270.63
      primer - one coat
      218. Paint the walls and ceiling - two         400.24 SF                           0.00                    0.94             7.00         76.64            459.87
      coats                                Bedroom 1                                     Bedroom 2

      219. Seal & paint baseboard - two                     40.36 LF                     0.00                    1.40             0.31         11.36             68.17
      coats
      220. Grout sealer                                     77.34 SF                     0.00                    0.82             0.87         12.86             77.15
      221. Final cleaning - construction -                  77.34 SF                     0.00                    0.19             0.00           2.94            17.63
      Residential
                                           Closet 1                                                  Closet 2

      Totals: Open Area 2                                                                                                        95.73         859.36          5,156.21
              Up




                                                                                         Bathroom2        Shower 2

     Up                                           Stairs       Open Area 2
                                                                                                                                                        Height: 16' 9"
                    7' 10"
                                                                        224.91   SF Walls                                           24.00 SF Ceiling
                    8' 2"
                                                                        248.91   SF Walls & Ceiling                                 41.87 SF Floor
                                 Up

                                      3'




                     Stairs
                                                                          4.65   SY Flooring                                        19.06 LF Floor Perimeter
                      8'                                                                       Laundry Room
                                                                         16.17   LF Ceil. Perimeter

                                                                                         AC
      Missing Wall                                                       3' X 16' 8 15/16"                              Opens into Exterior



                                                                                              Walk-in Closet
                                                       Master Bedroom



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                                                                                                         Toilet Room
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                                                                                                          Closet 1                                                                           Closet 2
                                        Santos Public Adjusters
                                        3057 NW 82nd Ave #3057                                                                     Bedroom 1
                                        Doral, FL. 33122
                                        Office: (305)-696-7818




                                                              Up
                                                                                                                                                                            Bathroom2               Shower 2
                                                                                                CONTINUED - Stairs
                                        Up
                                                                                                                                        Open Area 2

                                      3'                           Subroom: Stairs1 (2)                                                                                      Height: 11' 1"
                                                                                         70.45   SF Walls                                               10.01 SF Ceiling




                                                                                          Up
                           3' 2"
            3' 6"




                                                                                         80.46   SF Walls & Ceiling                                     10.03 SF Floor
                                                3'




                                                                         Stairs
                                                                                          1.11   SY Flooring                                             6.33 LF Floor Perimeter
                                   3' 2"                                                  6.33                 Closet 1
                                                                                                 LF Ceil. Perimeter                                                                          Laundry Room

                                 3' 6"
      Missing Wall                                                                       3' X 11' 1 1/2"                              Opens into STAIRS
      Missing Wall                                                                       3' X 11' 1 1/2"                              Opens into STAIRS2                    AC
                                                              Up




                                                                   Subroom: Stairs2 (3)                                                                                      Height: 11' 1" 2
                                                                                                                                                                                      Bedroom
                             3'                                                                                           Bedroom 1
                                                                                         47.64   SF Walls                                                6.50 SF Ceiling
                                 Up
                                                     1' 10"
                 2' 2"


                                           2' 6"




                                                                                         54.14   SF Walls & Ceiling                                     12.37Open
                                                                                                                                                              SF Floor
                                                                                                                                                                  Area 2
                                                                                          1.37   SY Flooring                                             5.39 LF Floor Perimeter
                                                                                                                                                                                   Walk-in Closet
                                                                                          4.67   LF Ceil. Perimeter
                                                                                                                               Master Bedroom
                                                                                                     Up




      Missing Wall                                                                       3' X 11' 1 1/2"                              Opens into STAIRS1
                                                                              Stairs
      Missing Wall                                                                       3' X 11' 1 1/2"                              Opens into STAIRS3

                                                                                                              Closet 1                                                                                    C
                            3' 6"                                  Subroom: Stairs3 (4)                                                                                        Height: 9' 3"
                                                                                         58.58 SF Walls                                                 10.01 SF Ceiling                          Toilet Roo
                                 3' 2"                                                                                                                Bedroom
                                                                                         68.59 SF Walls
                                                                                            Bedroom 1    & Ceiling                                      10.03 2SFFloor
         3' 6"

                         3' 2"




                                                     3'
                                                              Up




                                                                                          1.11 SY Flooring                                               6.33 LF Floor Perimeter
                                                                                          6.33 LF Ceil. Perimeter                                                                       Bathroom2           A
                                   3'

      Missing Wall
                                      Up                                                 3' X 9' 3"                                   Opens into
                                                                                                                                             OpenSTAIRS2
                                                                                                                                                  Area 2
      Missing Wall                                                                       3' X 9' 3"                                   Opens into STAIRS4

                                                                                     Closet 1                                                                    Closet 2
                                                                                                                                                       Master Shower
                                                                                                Up




                             10"                                   Subroom: Stairs4 (5)                                                                                        Height: 9' 3"
                                                                            Stairs                                                                                             Master Bath
                                                                                         15.81   SF Walls                                               2.50 SF Ceiling
                                                                                         18.31   SF Walls & Ceiling                                     6.37 SF Floor                                    La
                                           3'
                                           Up




                                                                                                                                                Master Bedroom
                                                                                          0.71   SY Flooring                                            2.29 LF Floor
                                                                                                                                                   Bathroom2
                                                                                                                                                                      Perimeter
                                                                                                                                                                   Shower 2
                                 1'
                                                                                          1.83   LF Ceil. Perimeter
             Up                  8"                                                                                  Open Area 2
      Missing Wall                                                                       3' X 9' 3"                                   Opens into STAIRS3                                AC
      Missing Wall                                                                       3' X 9' 3"                                   Opens into STAIRS5
                                                                       Up




                                                     Stairs
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                                                                                                                                                                Laundry Room




                                                                                                                                                                                                 Walk-in C
                                                                                                                                                   AC
                                                                                                                                     Master Bedroom
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                                                                      CONTINUED - Stairs
                                                                                                                                                         Closet 2
                                                             Closet 1

                                             Subroom: Stairs5 (1)                                                                           Height: 8'
                                                                 53.33   SF Walls                                 10.00 SF Ceiling
                                                                 63.33   SF Walls & Ceiling                       10.00 SF Floor
                             3'
               Up




                                                                  1.11   SY Flooring                               6.67 LF Floor Perimeter
                                                                  6.67   LF Ceil. Perimeter                                            Bathroom2                Sh
                    3' 4"

Up
      Missing Wall                                               3' X 8'                       OpenOpens
                                                                                                   Area 2 into STAIRS4
      Missing Wall                                               3' X 8'                              Opens into Exterior
      DESCRIPTION                                          QTY             REMOVE         REPLACE              TAX            O&P             TOTAL

      222. R&R Baseboard - 5 1/4"                     46.07 LF                 0.50            3.89             6.48          41.74             250.47
                                                Up




                            Stairs
      223. Additional labor to remove tile            90.67 SF                 1.73            0.00             0.00          31.38             188.24
      from concrete slab
      224. R&R Mortar bed for tile floors             90.67 SF                 1.33            3.59            12.25          91.68             550.03Laundry R
      225. Floor leveling cement - Heavy              90.67 SF                 0.00            2.41             9.08          45.52             273.11
      226. R&R Tile floor covering -                  90.67 SF                 2.49           13.63            62.90         304.90           1,829.40
      Premium grade
      227. Mask and prep for paint - plastic,         42.00 LF                 0.00            1.32             0.76          11.24              67.44
      paper, tape (per LF)                                                                                                             AC
      228. Floor protection - self-adhesive           90.67 SF                 0.00            0.60             0.83          11.04              66.27
      plastic film
      229. Texture drywall - smooth / skim           533.75 SF                 0.00            1.38             4.86         148.30             889.74
      coat
      230. Seal the walls and ceiling w/PVA          533.75 SF                 0.00            0.56             1.87          60.16             360.93
      primer - one coat
      231. Paint the walls and ceiling - two         533.75 SF                 0.00            0.94             9.34         102.20             613.27
      coats
      232. Seal & paint baseboard - two               46.07 LF                 0.00            1.40             0.35          12.98           Walk-in
                                                                                                                                                77.83Closet
      coats                                                                         Master Bedroom
      233. Grout sealer                               90.67 SF                 0.00            0.82             1.02          15.08              90.45
      234. Final cleaning - construction -            90.67 SF                 0.00            0.19             0.00           3.44              20.67
      Residential

      Totals: Stairs                                                                                          109.74         879.66           5,277.85

      Total: Second Floor                                                                                     524.94        4,738.12         28,428.48

                                                                            Third Floor
                                                                                                                                                               Toi




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                                              Office: (305)-696-7818

                                  Room1


                                            0" 5' 9"           2' 4"
                                                                                      Terrace                                                                                   Height: 8'
                                        5"
                                                       2' 6"




                            Small Hallway
                                       4' 11" 2' 2"




                                                                                                       502.50    SF Walls                                227.98 SF Ceiling
                                                                   17' 10"




                                                                                                       730.48    SF Walls & Ceiling                      227.98 SF Floor
                                                       5' 5"




                                                                             18' 2"



                            Bathroom 3                   Terrace
                  6' 11"
                    6' 9"   10"     3' 7"
                                                                                                        25.33    SY Flooring                              59.92 LF Floor Perimeter
        7' 2"
                6' 8"




                                                                                                        77.26    LF Ceil. Perimeter
                3' 4" 3'    3' 6"                     8' 7"

                        Room4
      Missing Wall                                                                                         5" X 8'                             Opens into ROOM1
      Missing Wall - Goes
                      Room3to Floor                                                                        5' 9" X 6' 8"                       Opens into ROOM1
      Missing Wall - Goes to Floor                                                                         8' 7" X 6' 8"                       Opens into ROOM3
      Missing Wall - Goes to Floor                                                                         3' X 6' 8"                          Opens into ROOM4
      DESCRIPTION                                                                                    QTY          REMOVE          REPLACE              TAX            O&P            TOTAL

      235. Sink - single - Detach & reset                                                        1.00 EA                   0.00       141.92            0.00          28.38           170.30
      236. Sink faucet - Detach & reset                                                          1.00 EA                   0.00       114.23            0.00          22.84           137.07
      237. R&R P-trap assembly - ABS                                                             1.00 EA                   7.44        57.61            0.42          13.08            78.55
      (plastic)
      238. R&R Angle stop valve                                                                  2.00 EA                   4.96        32.98            1.01          15.38            92.27
      239. R&R Plumbing fixture supply                                                           2.00 EA                   4.96        18.87            0.84           9.68            58.18
      line
      240. Refrigerator - Remove & reset                                                         1.00 EA                   0.00        32.32            0.00           6.46            38.78
      241. Additional labor to remove tile                                                  227.98 SF                      1.73         0.00            0.00          78.88           473.29
      from concrete slab
      242. R&R Mortar bed for tile floors                                                   227.98 SF                      1.33         3.59           30.80         230.50          1,382.96
      243. Floor leveling cement - Heavy                                                    227.98 SF                      0.00         2.41           22.82         114.44           686.69
      244. R&R Tile floor covering -                                                        227.98 SF                      2.49        13.63          158.15         766.66          4,599.85
      Premium grade
      245. Mask and prep for paint - plastic,                                                   77.26 LF                   0.00         1.32            1.41          20.68           124.07
      paper, tape (per LF)
      246. Floor protection - self-adhesive                                                 227.98 SF                      0.00         0.60            2.07          27.78           166.64
      plastic film
      247. Texture drywall - smooth / skim                                                  502.50 SF                      0.00         1.38            4.57         139.62           837.64
      coat
      248. Seal the walls w/PVA primer -                                                    502.50 SF                      0.00         0.56            1.76          56.64           339.80
      one coat
      249. Paint the walls - two coats                                                      502.50 SF                      0.00         0.94            8.79          96.24           577.38
      250. Grout sealer                                                                     227.98 SF                      0.00         0.82            2.55          37.90           227.39
      251. Final cleaning - construction -                                                  227.98 SF                      0.00         0.19            0.00           8.66            51.98
      Residential

      Totals: Terrace                                                                                                                                 235.19       1,673.82      10,042.84


      Total: Third Floor                                                                                                                              235.19       1,673.82      10,042.84

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                                          Pack - in & Pack - out

      DESCRIPTION                                         QTY          REMOVE             REPLACE                   TAX                 O&P        TOTAL

      252. Contents Evaluation and/or                8.00 HR                   0.00             58.08                0.00               92.92       557.56
      Supervisor/Admin - per hour
      This Item including necessary supervisor and inspection of safely unpack personal property on move back day
      253. Inventory, Packing, Boxing, and          18.00 HR                   0.00             32.75                0.00              117.90       707.40
      Moving charge - per hour
      The above line item is for 3 technicians for 6 hours each to safely unpack personal property and place in location & Assemble as necessary
      254. Inventory, Packing, Boxing, and          14.00 HR                   0.00             32.75                0.00               91.70       550.20
      Moving charge - per hour
      The above line item is for 2 technicians for 7 hours to Move content safely from our location and into house
      Unpacking
      255. Off-site storage & insur. - climate     500.00 SF                   0.00               1.85             64.75               197.96      1,187.71
      controlled - per month
      Storage space for 1 month
      Move Back
      256. Contents Evaluation and/or                8.00 HR                   0.00             58.08                0.00               92.92       557.56
      Supervisor/Admin - per hour
      This Item including necessary supervisor for move out
      Storage
      257. Inventory, Packing, Boxing, and          18.00 HR                   0.00             32.75                0.00              117.90       707.40
      Moving charge - per hour
      The above line item is for 3 technicians for 6 hours to Dismantle , Load, and transport personal property to storage facility.
      258. Moving van (21'-27') and                  2.00 EA                   0.00            180.00                0.00               72.00       432.00
      equipment - per day
      Moving from location and back
      Move Out
      259. Contents Evaluation and/or               10.00 HR                   0.00             58.08                0.00              116.16       696.96
      Supervisor/Admin - per hour
      This Item including necessary supervisor for pack up.
      260. Inventory, Packing, Boxing, and          25.00 HR                   0.00             32.75                0.00              163.76       982.51
      Moving charge - per hour
      The above line item is for 2 technicians for 12.5 hours each necessary to identify, inventory, and safely pack personal property .
      261. Provide furniture heavyweight            40.00 EA                   0.00             14.91              41.75               127.64       765.79
      blanket/pad
      Packing
      262. Bubble Wrap - Add-on cost for           350.00 LF                   0.00               0.22               5.39               16.48        98.87
      fragile items
      263. Provide stretch film/wrap                 2.00 RL                   0.00             23.99                3.36               10.28        61.62
      264. Provide box & tape - medium size         50.00 EA                   0.00               2.83               3.40               28.30       173.20
      The following item for medium boxes necessary for pack out of personal property

      Totals: Pack - in & Pack - out                                                                              118.65           1,245.92        7,478.78


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                         3057 NW 82nd Ave #3057
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                         Office: (305)-696-7818



                                           Permits & Additionals

      DESCRIPTION                                         QTY          REMOVE            REPLACE                   TAX                O&P             TOTAL

      265. General clean - up                       10.00 HR                  0.00              32.49               0.01              64.98             389.89
      266. General Laborer - per hour               40.00 HR                  0.00              32.75               0.00             262.00           1,572.00
      267. Temporary toilet - Minimum                1.00 EA                  0.00             110.00               0.00              22.00             132.00
      rental charge
      268. Taxes, insurance, permits & fees          1.00 EA                  0.00           3,399.78               0.00               0.00           3,399.78
      (Bid Item)
      Permitting fees are calculated at 3% of the overall estimate cost. This is a preliminary calculation as Permitting fees will be much higher due to the
      nature of the repairs.

      Totals: Permits & Additionals                                                                                 0.01             348.98           5,493.67




                                           General

      DESCRIPTION                                         QTY          REMOVE            REPLACE                   TAX                O&P             TOTAL

      269. Residential Supervision / Project        40.00 HR                  0.00              65.00               0.00             520.00           3,120.00
      Management - per hour
      Coordinate the work of subcontractors and perform other project management duties. A Superintendent/Project Manager may complete tasks such
      as, but not limited to, coordinate materials, colors, etc. with owner, create/maintain project schedules, coordinate/meet trades, order materials,
      inspect job sites, meet with inspectors, etc. Not included in O&P as qualified by Xactimate
      270. Dumpster load - Approx. 40                1.00 EA                836.00               0.00               0.00             167.20           1,003.20
      yards, 7-8 tons of debris
      271. Negative air fan/Air scrubber (24         6.00 DA                  0.00              70.00               0.00              84.00             504.00
      hr period) - No monit.
      272. Add for HEPA filter (for negative         1.00 EA                  0.00             186.45              12.25              39.76             238.46
      air exhaust fan)

      Totals: General                                                                                              12.25             810.96           4,865.66

      Labor Minimums Applied

      DESCRIPTION                                         QTY          REMOVE            REPLACE                   TAX                O&P             TOTAL

      273. Water extract/remediation labor           1.00 EA                  0.00             128.16               0.00              25.64             153.80
      minimum
      274. Heat, vent, & air cond. labor             1.00 EA                  0.00             102.31               0.00              20.46             122.77
      minimum
      275. Insulation labor minimum                  1.00 EA                  0.00              17.69               0.00               3.54              21.23
      276. Wood floor covering labor                 1.00 EA                  0.00             204.13               0.00              40.82             244.95
      minimum

      Totals: Labor Minimums Applied                                                                                0.00              90.46             542.75

      Line Item Totals: 2020-06-14-2041                                                                        2,115.66          18,281.98         113,093.98


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      Grand Total Areas:
           7,495.32 SF Walls                     2,387.05 SF Ceiling              9,882.37 SF Walls and Ceiling
           2,448.00 SF Floor                       272.00 SY Flooring               905.01 LF Floor Perimeter
               0.00 SF Long Wall                     0.00 SF Short Wall             934.44 LF Ceil. Perimeter

           2,448.00 Floor Area                   2,636.64 Total Area              6,652.30 Interior Wall Area
           4,225.88 Exterior Wall Area             477.76 Exterior Perimeter of
                                                          Walls

               0.00 Surface Area                     0.00 Number of Squares           0.00 Total Perimeter Length
               0.00 Total Ridge Length               0.00 Total Hip Length




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                       Santos Public Adjusters
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                       Office: (305)-696-7818




                                                 Summary for Dwelling
      Line Item Total                                                                     92,696.34
      Material Sales Tax                                                                   2,047.51
      Storage Rental Tax                                                                      64.75

      Subtotal                                                                            94,808.60
      Overhead                                                                             9,140.99
      Profit                                                                               9,140.99
      Laundering Tax                                                                           3.40

      Replacement Cost Value                                                            $113,093.98
      Net Claim                                                                         $113,093.98




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                                                Recap of Taxes, Overhead and Profit




              Overhead (10%)         Profit (10%)   Material Sales Tax Laundering Tax (2%)   Manuf. Home Tax   Storage Rental Tax
                                                                 (7%)                                  (6%)                 (7%)

      Line Items
                       9,140.99          9,140.99            2,047.51                3.40               0.00                64.75

      Total
                       9,140.99          9,140.99            2,047.51                3.40               0.00                64.75




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                                                 Recap by Room

     Estimate: 2020-06-14-2041

     Area: Main Level
            Kitchen / Family Room                                          26,638.04    28.74%
            Pantry                                                          1,277.45     1.38%
            Stairs                                                          3,738.58     4.03%
            Living Room                                                     7,771.74     8.38%
            Closet 1                                                        1,058.33     1.14%
            Bedroom 1                                                       5,159.32     5.57%

             Area Subtotal: Main Level                                     45,643.46    49.24%

     Area: Second Floor
            Bedroom 1                                                       5,157.40     5.56%
            Closet 1                                                        1,686.81     1.82%
            Bedroom 2                                                       6,245.03     6.74%
            Closet 2                                                        1,586.61     1.71%
            Open Area 2                                                     4,201.12     4.53%
            Stairs                                                          4,288.45     4.63%

             Area Subtotal: Second Floor                                   23,165.42    24.99%

     Area: Third Floor
            Terrace                                                         8,133.83     8.77%

             Area Subtotal: Third Floor                                     8,133.83     8.77%
             Pack - in & Pack - out                                         6,114.21     6.60%
             Permits & Additionals                                          5,144.68     5.55%
             General                                                        4,042.45     4.36%
             Labor Minimums Applied                                           452.29     0.49%

     Subtotal of Areas                                                     92,696.34    100.00%


     Total                                                                 92,696.34    100.00%




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                                                 Recap by Category

      O&P Items                                                               Total            %
      APPLIANCES                                                               582.83     0.52%
      CABINETRY                                                              8,094.94     7.16%
      CONT: GARMENT & SOFT GOODS CLN                                           141.50     0.13%
      CLEANING                                                                 603.17     0.53%
      CONTENT MANIPULATION                                                     647.79     0.57%
      CONT: PACKING,HANDLNG,STORAGE                                          5,972.71     5.28%
      GENERAL DEMOLITION                                                    10,676.81     9.44%
      DOORS                                                                     82.20     0.07%
      DRYWALL                                                                7,970.17     7.05%
      ELECTRICAL                                                               290.93     0.26%
      FLOOR COVERING - CERAMIC TILE                                         29,950.26    26.48%
      FLOOR COVERING - WOOD                                                    207.87     0.18%
      FINISH CARPENTRY / TRIMWORK                                            3,566.61     3.15%
      FINISH HARDWARE                                                          330.75     0.29%
      HEAT, VENT & AIR CONDITIONING                                            238.39     0.21%
      INSULATION                                                               143.13     0.13%
      LABOR ONLY                                                             3,910.00     3.46%
      LIGHT FIXTURES                                                         2,103.50     1.86%
      PLUMBING                                                                 834.92     0.74%
      PAINTING                                                              10,196.45     9.02%
      TEMPORARY REPAIRS                                                        110.00     0.10%
      WINDOW TREATMENT                                                         197.58     0.17%
      WALLPAPER                                                              1,709.44     1.51%
      WATER EXTRACTION & REMEDIATION                                           734.61     0.65%
      O&P Items Subtotal                                                    89,296.56    78.96%

      Non-O&P Items                                                           Total            %
      PERMITS AND FEES                                                       3,399.78     3.01%
      Non-O&P Items Subtotal                                                 3,399.78     3.01%
      O&P Items Subtotal                                                    89,296.56    78.96%
      Material Sales Tax                                                     2,047.51     1.81%
      Storage Rental Tax                                                        64.75     0.06%
      Overhead                                                               9,140.99     8.08%
      Profit                                                                 9,140.99     8.08%
      Laundering Tax                                                             3.40     0.00%

      Total                                                                113,093.98   100.00%




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     Main Level         Case 1:21-cv-22199-BB Document 1-5 Entered on FLSD Docket 06/15/2021 Page 25 of 27




                                                                                                                                                      21' 9"
                                                                                                                                                      21' 1"




                                                                                         16' 1"
                                                                                                   15' 9"
                                                                                                                             Kitchen / Family Room




                                                                                                                                                                                                         26' 3"
                                                                                                                                    3' 5"
                                                    3' 10"




                                                                                                                           2'
                                                 Up                                                                                 2' 9"
                                                                                                       3' 10"




                                                                         3' 5"
                                                3' 10"




                                                                                                                                                    5' 7"
                                                 Stairs




                                                                                                                                            5' 3"
                                                                                                                         1' 6"




                                                                                                                3' 11"
                                                                                                                          3' 3"
                                                             8"                     7'
                                                                                                                           Pantry

                                                              3' 2" 1"
                                                   3' 2"                         7' 8"                                            4' 3"             2' 5"




                                                                                                   3' 11"
                                                                                         3' 3"
                                        3' 6"




                                                                  Up
                                                                                                                                  4' 9"             2' 3"




                                                                                                                                                                      3' 11"
                                                                                                                                                            3' 3"




                                                                                                                                                                                                                   46' 6"
                                                 3' 6"                             8'                                    11' 2"                                     1' 2"
                                                                                                                          11' 2"




                                                                                                                                                                       3' 4"
                                                                                                                                                                                          8' 11"
                                                                                                                                                                                            8' 7"




                                                                                                                                                                               3' 11"
                                                                                                                                                                      4' 5"




                                                                                                                                                                                                         5' 7"
                                                                                         14' 10"

                                                                                                                                                                                         Bathroom
                                                                                                   14' 2"
                                                                                                                Living Room




                                                                                                                                                                               2'
                                                                                                                                                                                4"
                                                                                                                                                                                                6' 11"




                                                                                                                                                                      2'
                                                                                                                                                                           7"




                                                                                                                                                                                                         2' 2"
                                                                                                                                                                                    0"           6' 9"
                                                                                                                                                                                           Closet 1
                                                                                                                                                                      3' 3"




                                                                                                                                                            2' 7"
                                                                                                                                                                        3' 1"




                                                                                                                                                                     2' 5"
                                                                                                                         10' 9"




                                                                                                                                                                                                         10' 10"
                                                                                                                                                                                   Bedroom 1
                                                                                                                                                                     8' 5"
                                                                                                                                                            8' 7"




                                                                                                                                                                                          10'
                                                                                                                                                                                         10' 8"




                                                                                                                                                                                                                                        Main Level
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                                                                                                                        10' 9"                                                                    10' 10"
                                                                                                                         10' 3"                                                                   10' 4"




                                                                                                                                                                                                                                                          10' 3"
                                                                                                                                                                                                                                                 9' 9"
                                                                                                                Bedroom 1                                                               Bedroom 2


                                                                                                                5' 7"                                                                                                      5' 8"
                                                                                                                                                                          3'
                                                                                                                                                                               3"




                                                                                                                                                                                             2"
                                                                                           2' 11"




                                                                                                                                                     4"
                                                                                                                                2' 5"
                                                                                                                5' 4"                                                                                              5' 5"




                                                                                                                                            3'
                                                                                                       Closet 1                                                  3'                                           Closet     2




                                                                                                                                                                                      3'
                                                                                                                                             9"

                                                                                                                                                    3'
                                                                                                                                                                      3"




                                                                                                                                                                                                 5"
                                                                                                                                                          5"
                                                                                                                                                                                                              2' 8" 2' 9"




                                                                                                                                   3'
                                                      4' 4"                   3' 4"                         4' 8"




                                                                                                                                                                                              2'
                                                                                                                                        1"



                                                                                                                                                      3'
                                                     3' 2" 10"                                                                                                                               2' 2" 2' 10"




                                           3' 6"
                                                                                                        4' 10"                  8" 2' 10"




                                                   3' 2"




                                                                                      3'
                                                                     Up




                                                                                                                                                                                                                                                 5' 2"
                                                                                                                                                                                5' 7"
                                                                                                                                                                                      Bathroom2
                                                                                                                                                                                             Shower 2




                                                                                                                                   5' 11"
                                                                1'




                                                                                                                        6' 3"
                                                       3'




                                                                     1' 10"
                                                   2' 2"

                                                            2' 6"
                                                           Up                                                                           Open Area 2
                                           5' 8"                                  7' 10"                                                                                                      3' 1" 1' 11"
                                                                                                                                              5'




                                                                                                Up
                                                   3' 2"                          8' 2"                                                                                                      3' 3"                 1' 9"




                                                                                                                                                                                                           4' 1"
                                                                                                                                                                                                                     4' 3"
                                                                                Stairs




                                                                                                       3'
                                                                                                                                            5' 4"




                                                                                                                                                                 2' 11"




                                                                                                                                                                                                                                                 5' 10"
                                                                                      8'                                                                                                              Laundry Room
                                                                                                                         9' 9"                                        3' 7"                   2' 8"
                                                    3' 6"




                                                                                                                                                                                                                     1' 7" 1' 7"
                                                                                                                          9' 5"                                     3' 5"                     2' 6"




                                                                                                                                                                                                                                                          28' 4"
                                                                                                                                                                                    3' 2"
                                                                                                                                                                                                                                   4' 6"
                                                                                                                                                                                              AC




                                                                                                                                                                                              3'
                                                                                                                                                                                                           1' 5"
                                                                                                                                                                                              2' 10"




                                                                                                                                                                                                                                                 7' 2"
                                                                                                                                                                                    6' 11"
                                                                                                                                                                                              6' 5"
                                                                                                                                                                                             Walk-in Closet
                                                                                              14' 5"
                                                                                                       13' 9"
                                                                                                                    Master Bedroom
                                                                                                                                                                                                                                     3' 8"




                                                                                                                                                                                                                    10"
                                                                                                                                                                                                  3' 8"




                                                                                                                                                                                                                                   8"
                                                                                                                                                                                                                                      3' 4"
                                                                                                                                                                                                      4'




                                                                                                                                                                                                                                   3' 11"
                                                                                                                                                                                                                    3' 8"



                                                                                                                                                                                                                                                 6' 6"
                                                                                                                                                                                                                   Toilet Room
                                                                                                                           9' 8"                                  2' 10"                         4' 4"




                                                                                                                                                                                                                               2'
                                                                                                                                                                      2' 8"                      4' 5"




                                                                                                                                                                                                                                   5"
                                                                                                                                                                                                                    2'
                                                                                                                                                                                                                        7"
                                                                                                                                                                                                                                            2'

                                                                                                                                                                                         9' 1"
                                                                                                                                                         9' 5"



                                                                                                                                                    Master Shower




                                                                                                                                                                                                                                                 7' 1"
                                                                                                                                                                                                                                                          7' 7"
                                                                                                                                                              Master Bath

                                                                                                                                                                                                                    8'
                                                                                                                                                                          3'                                       8' 4"




                                                                                                                                                                                                                                                                           Second Floor
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                                                                                                  21' 11"
                                                                                                   21' 3"




                                                                                                                                                    10' 11"
                                                12' 4"
                                                          11' 8"
                                                                                                  Room1



                                                                                                                                            8' 1"
                                                                       8' 8"                              4' 8"




                                                                                                                     5"
                                                                     8' 10"                           4' 2"




                                                                                                                    4' 10"




                                                                                                                                                              29' 7"
                                                                                                                             5' 4"
                                                                                           Small Hallway
                                                                                     1' 7"
                                                                                          1' 5"       4' 4"




                                                                                                                    4' 11"
                                                                                  5' 3"




                                                                                                                             5' 5"




                                                                                                                                                    17' 10"
                                                                                           Bathroom 3                                  Terrace
                                                                    6' 11"                        5' 9"
                                                                     6' 9"                        6' 3"
                                                  7' 2"
                                                            6' 8"




                                                                         9' 9"                                                       11' 2"



                                                                       Room4                               5' 6"
                                                  6'




                                                                         9' 11"




                                                                                                                                                    14' 11"
                                                                        9' 11"




                                                                                                                                                              15' 5"
                                                                                                                              Room3
                                                                                                            9' 5"
                                                                                                  9' 5"




                                                                                                                                      11'
                                                                                                                                     11' 8"




                                                                                                                                                                                   Third Floor
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